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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA

              v.

 LEE ELBAZ,                                       Criminal Action No. TDC-18-157
   a/k/a “Lena Green,”

              Defendant


      JOINT SUBMISSION OF THE PARTIES IN RESPONSE TO THE COURT’S
                        DECEMBER 9, 2019 ORDER

       Counsel for the United States and Counsel for the defendants respectfully submit this Joint

Submission in response to the Court’s December 9, 2019 Order.

                              Summary of Government’s Position

       As set forth below, the government’s position is that it has conducted a loss analysis based

on data provided by the defendant, which, consistent with the Court’s Order, reflects losses

incurred by investor victims between May 2014 and June 2017. The government submits that the

appropriate calculation for both loss and restitution is $137,057,353. The government further

submits that this figure, which is based on Spot Option data provided by the defendant, is the

appropriate calculation for several reasons. First, consistent with the Court’s Order, by using the

data set previously submitted by the defendant, the calculation now includes only amounts for

investors for the period between May 2014 and June 2017. Second, the calculation is for losses

limited to “Yukom, Numaris, and Linkopia,” as evidence at trial established that nearly all investor

victims were funneled through Linkopia before being distributed as “leads” to other offices. Thus

including all BinaryBook and BigOption investor victims – which is the data set used for the

government’s revised calculation – is appropriate. Third, in any event, the defendant oversaw and

conducted training for the branches of the fraudulent enterprise, and thus losses for investors who
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had contact with retention agents at all branches were reasonably foreseeable to the defendant.

Accordingly, the government submits that $137,057,353 is an appropriate loss award in that it is

limited to (1) losses suffered by BinaryBook and BigOption investor victims, the two brands the

defendant oversaw, and for which nearly all investor victims flowed through Linkopia; (2) losses

caused by retention agents working in branches that were known to the defendant, and where she

had oversight and training responsibilities; and (3) losses incurred between May 2014 and June

2017.

I.      Government’s Position

        A.     Almost All Investor-Victims Flowed through Linkopia

        As an initial matter, the government’s loss figure described above, is appropriate and

reflects the activities of Yukom, Numaris, and Linkopia because, as the evidence at trial showed

every BinaryBook/BigOption investor was almost always routed through Linkopia as the first step

in the scheme. (Trial Tr., 7/19/2019 PM, at 117) (“Linkopia did all of the conversion . . .”); (Trial

Tr. 7/18/2019 AM, at 24) (“Before I talked to a client, the client was contact by the conversion

department and people that were sitting -- employee that was sitting in the conversion department

in a country, it's called Mauritius and they spoke to the client, first of all, and then the client got

into us, the employee in Israel in Caesarea.”) Id. at 25 (“Before a client came to your desk, had

they already made a deposit? A Yes, they did.”); (Trial Tr., 7/26/2019 PM, at 41) (“Q. Did that

mean that the clients had already deposited an initial sum of money? A. Yes.”); see also Trial

Exhibit A – Full Organization Chart.

        B.     In Any Event, the Defendant Managed and Controlled the Fraudulent
               Enterprise and Binary Book and Big Option Brands, Including
               Ukraine, Turkey, and Other Branches.

        In addition, it is particularly reasonable to include investor losses from the other offices in

Elbaz’s loss calculation because Elbaz had an active role in those offices’ operations.


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       During the course of the conspiracy, Elbaz and her co-conspirators opened offices in

Ukraine and Netanya, Israel. (Trial Tr. 7/19/2019 PM, at 118-119). Elbaz and her co-conspirators

also operated a small office in Turkey (which focused on Turkish investors) and a short-lived

office in Australia. The evidence shows that these offices operated as one network overseen by

Elbaz and other managerial co-conspirators, including Kobi Cohen and Yossi Herzog.

•   On August 1, 2015, Elbaz emailed Herzog, Cohen, Nissim Alfasi, Elad Bigelman, and Or

    Maymon net deposit totals for July 2015. Elbaz reported that “group total” of net deposits was

    $6,657,015 for the month. Elbaz also reported results for the different branches, writing that

    “[t]he Ukraine branch ended with $83,000,” the Turkish branches took in “$100,000

    (approximately), the retention desk in Mauritius took in $340,000, and “Tel Aviv started two

    weeks ago.” (Ex. B.1).

•   On September 25, 2015, Herzog emailed Elbaz and Cohen with regarding “goals until the end

    of the year.” In the email, Herzog instructed Elbaz to “[d]ivied please the quantity of FTD’s

    [first-time depositors, i.e. new leads] and the nets [net deposits] between Turkey, Ukraine,

    Ronen [i.e, the Tel Aviv office], Caesaria, and Mauritius in a precise and individual manner

    by the recruitment and training objectives in all the places.” Herzog also instructed Elbaz to

    “send me please and Kobi the exact operation plans until the end of this month.” (Ex. B.2).

•   On March 8, 2016, Elbaz and Cohen received an email asking to approve the purchase of “the

    needed 6 computers for our partners in Netanya.” The email explained that “[w]e will pay for

    it and it will be deducted from the payment to them.” 1 (Ex. B.3).




       1
        As Austin Smith explained during the trial about the Tel Aviv office, the different offices
had revenue sharing agreements. Trial Tr., 7/25/2019 PM, at 73 (Testimony of Austin Smith).


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•   On March 30, 2016, Elbaz emailed Herzog and Cohen with the subject “The Ukraine.” In the

    email, Elbaz provided an update on the Ukrainian office and her role in managing it. She wrote

    in part, “I train them all the time, and today was already a marked improvement from 8

    thousand dollar per day within the last week and a half to yesterday in which they brought [in]

    net 16 with a third of the employees, and today net 25 again with a third of the employees.”

    At the end, she requested permission to return “in six weeks for one week to continue

    maintenance and training.” (Ex. B.4).

•   On July 11, 2016, Herzog, Cohen, and Elbaz all exchanged emails about the performance of

    the branches. Herzog wrote:

               The situation at the branches is really not good since the beginning
               of this month. My understanding is that last month, Caesarea
               brought in net [$]6.5 [million]. If we deduct approximately and
               additional net 1.5 million from conversion, it means that Mauritius,
               Tel Aviv, Ukraine, Netanya and Turkey together brought in on net
               [$]1.5 [million]. Who runs the branches day-to-day and see to their
               development?

    Elbaz responded, “The branches brought in 1.8 [million.] Thus far, I have been doing it[.] I

    train them, provide them with service, I distribute leads and take care of them regularly.”

    (Ex. B.5 (emphasis added)).

       Evidence at trial also established Elbaz’s managerial responsibilities in the offices outside

of Mauritius, Tel Aviv, and Caesaria. For example, on one audio recording recovered from Elbaz’s

cellular telephone, she describes traveling to the other offices:

               I did not have holidays, I did not have weekends, I did not have
               special days, I was all day long… in the craziness of life, on
               weekends I would travel abroad, to Romania, to Ukraine, doing
               trainings, to Turkey… I busted my ass, I busted my ass… and then,
               after, after working so hard, Kobi informed all the partners that I
               was to become a non-investing partner, meaning that no matter
               what, I receive money, I’d get 0.5%; when I left in November, I




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                continued to get money, I continued to get money until the middle
                of January.

(Ex. 59.1 (emphasis added). Similarly, Liora Welles testified that she and Elbaz traveled to the

Nentanya, Israel and gave a training session to new employees. Trial Tr., 7/19/2019 PM, at 118-

119 (Testimony of Liora Welles).

       Other emails recovered during the investigation show Elbaz and others managers in

Caesaria communicating with employees and managers of the Ukrainian, Turkish, and Nentanya

offices. For example:

•   On June 10, 2015, Elbaz, Cohen, and Herzog received an email from Shimon Ben Arye, the

    head of the Ukrainian office. The subject of the email was “Ukraine desk opening day,” and

    included three photos from a reception. (Ex. B.6).

•   On July 1, 2015, Elbaz, copying Herzog and Cohen, sent an email to all offices operating under

    the BigOption brand with the subject “We Did It.” (Ex. B.) In the email, Elbaz wrote that

    “[w]e have reached an amazing result of 4,535,000$ net!!!,” referring to the fact that all offices

    had taken in $4.5 million in net deposits for the prior month. At the end of the email, Elbaz

    wrote, “Ukraine team, welcome aboard to one of the strongest companies in the world. We

    did it and it is just the beginning.” Id. (Ex. B.7).

•   On September 22, 2015, Kobi Cohen emailed the “All BigOption” and “All BinaryBook”

    distribution lists with specific instructions not to mention SpotOption when talking to clients.

    The same day, the head of the Ukraine office responded all, “Got It and On It . . . Andy and

    the Ukraine desk.” 2 (Ex. B.8).


       2
          Other emails collected during the investigation confirm that employees in the Ukraine
office were included in the “All BigOption” and “All Binarybook” distribution lists during the
course of the conspiracy, thereby receiving updates from Elbaz and other managers. The Ukrainian
office also had its own office-specific BinaryBook distribution list (ua@binarybook.com).


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•   On October 13, 2015, an employee in the Caesarea office, copying Elbaz, sent an email

    addressed to the distribution lists for the Caesarea (il@binarybook.com), Ukraine

    (ua@binarybook.com),       Mauritius      (retentionMU@binarybook.com),         and     Turkey

    (tr@binarybook.com) offices. The email included bank instructions for all employees to

    collect investor wires. (Ex. B.9). Similarly, on November 26, 2015, the same employee sent

    an email addressed to the distribution lists for the Caesarea, Ukraine, Mauritius, and Turkey

    offices with instructions to no longer use a Cypriot bank account and to only have wires sent

    to a Polish bank account. (Ex. B.10).

•   On March 13, 2017, Elbaz forwarded an email with the subject “Turkey Deposit Reports – 3

    months” to Ronen Roytman (head of the Tel Aviv office). The email, sent originally by the

    head of the Turkish office, included an Excel file containing the net deposit figures for Turkey

    for December 2016 through February 2017. (The numbers are less than $43,000 for the

    period). (Ex. B.11).

       These examples, and other evidence from trial, show that all offices operating under the

BinaryBook and BigOption brands—in Israel, Mauritius, Ukraine, Turkey, and elsewhere—

operated as a single scheme, with Elbaz exercising control and managerial decision-making over

all operations, regardless of office. Financial loss suffered by investors—no matter where the

office—was therefore reasonable to Lee Elbaz no matter the office where it occurred, and therefore

should be included in the loss calculation.

       C.      The Government’s Revised Loss Figure Accurately Captures Losses
               from BinaryBook and BigOption Investor Victims that Were
               Foreseeable to the Defendant.

       As part of the defendant’s sentencing filings, she included an excel spreadsheet containing

data collected from SpotOption. See Exhibit A to Exhibit 2, Declaration of Vadim Turkov. This




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spreadsheet included a tab labeled “Deposits,” and a tab labeled “Withdrawals,” both of which

listed out particular transactions by brand (Binary Book / Big Option), date, amount, payment

method/type of transaction, customer ID, name, and country, and agent. These two spreadsheets

include deposits and withdrawals from May 1, 2014 through June 2017. The government has

applied the calculation methodology set out in the government’s sentencing memoranda to this

data provided by the defense, which results in a total loss figure (based on net deposits) of

$137,057,353 for losses occurring on between May 2014 and June 2017.                See Exhibit A

(Declaration of Michael Petron); Exhibit 20 to Exhibit A (Loss and Restitution Summary for

Customer IDs based on Exhibit A to Turkov Declaration). The government respectfully submits

that this is the appropriate — albeit conservative — figure that accurately captures the losses of

investor victims while the defendant was participating in the scheme.

       D.      Excluding Other Offices and Locations from Loss in this Case is
               Difficult on the Available Data and Would Substantially Understate
               Investor Losses and Restitution.

       In the Court’s December 9, 2019 Order, the Court specified that loss “includes all activities

of all retention agents of Yukom, Numaris, and Linkopia, whether or not specifically found at trial

to be members of the conspiracy, but does not include the activities of other companies engaged

in binary options fraud.” D.E. 350 at 1. As set forth above, the government submits that by using

the data set previously submitted by the defendant which limits losses to BinaryBook and

BigOption investor victims — and which excludes any losses incurred by investor victims in some

other binary options “brand,” such as Binary Online — the government has appropriately limited

loss in this case to only those losses that were reasonably foreseeable to the defendant. Because

the defendant was responsible for retention for the BinaryBook and BigOption brands, and because

almost all investor-victims flowed through Linkopia, the government believes the calculation as

submitted is fully supported


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       The government understands that the defendant’s position is that the calculation should

exclude any losses for investors simply because they were passed off to branches other than

Yukom, Linkopia, or Numaris, regardless of whether they initially flowed through Linkopia, and

notwithstanding the defendant’s supervisory role with respect to all branches. However, removing

net deposits simply because investors had contact during the scheme with agents at branches

besides Yukom, Numaris, and Linkopia will be unfair to certain investors. First, again while nearly

all investor victims were originally routed through conversion in Linkopia, investor victims were

sometimes transferred between branches and retention agents. Thus, removing particular losses

or transactions from an investor victim’s overall loss simply because they later had contact with a

particular branch, would make little sense (even if it were feasible). For example, if an investor

went through conversion in Linkopia, lost thousands through a Yukom retention agent, and was

then passed along to a Ukraine-based retention agent (trained by Ms. Elbaz herself) where the

investor lost tens of thousands more, that investor’s losses to the Ukraine-based retention agent

would not be included in their loss calculation. Such an approach would be fundamentally unfair

to the victims of this scheme who had no knowledge of where these fraudsters actually worked or

resided and would deprive them of inclusion in the restitution calculation.

       Moreover, excluding certain branches and/or companies from the loss calculations in this

case will be at best a difficult, manual, and time-consuming process based on data available to the

government. The government does not currently have a comprehensive list of deposits or

withdrawals that would allow the government to identify the branch where the investor victim

made their initial deposit. Thus, the government’s only current method to isolate and remove

deposits affiliated with particular branches involves manually searching for reports, some (not all)

of which contain location information. This process is made more challenging given that both




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customers and, in some cases, retention agents, were transferred between branches and it is

difficult to associate a particular customer or retention agent with a particular location. And, given

the current data available to the government, it is also difficult to remove particular transactions

as opposed to particular customers.

       Again, the government does not believe that such an analysis is necessary under the terms

of the Court’s Order, or that such an analysis is required under the Guidelines, but should the Court

wish to exclude losses based on whether an investor victim was given to a branch other than

Linkopia, Numaris, or Yukom the government respectfully requests that the current sentencing

date be continued for three additional weeks so that the government can attempt to complete such

an analysis.

II.    Defendant’s Position

       Rather than respond to the Court’s Order dated December 9, 2019, DE 350, the

Government sets forth above numerous arguments that the Government had not made previously

in its memorandum in aid of sentencing. Nor did the Government subsequently make these

arguments as it was afforded the opportunity to do in accordance to the Court’s sentencing order.

See Regular Sent’g Order, DE 295 (“[a]ny other written materials related to sentencing . . . shall

be delivered to chambers no later than Monday, December 2, 2019”). Instead, the Government set

forth these arguments in a draft that it provided to Ms. Elbaz for the first time at 7:30 p.m. today,

the day the Court ordered the parties to make a joint submission, a submission that the Court

ordered to be made only after the parties were to meet and confer. DE 350. Ms. Elbaz asks the

Court to strike these arguments. To the extent the Court is going to consider these arguments,

however, Ms. Elbaz will respond to them at the sentencing hearing.

       While preserving and maintaining all of the arguments Ms. Elbaz set forth in her

memorandum in aid of sentencing regarding the appropriate calculation of the amount of the loss,


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Ms. Elbaz confines her response here to the Court’s Order dated December 9, 2019, DE 350. The

Government’s loss calculation of $137,057,353 fails to take into account the Court’s request that

it make the following assumptions: “The loss may be calculated from the Spot Option data using

the overall net losses” DE 350 at ¶ 1; and “The loss includes all activities of all retention agents of

Yukom, Numaris, and Linkopia, whether or not specifically found at trial to be members of the

conspiracy, but does not include the activities of other companies engaged in binary options fraud.”

DE 350 at ¶ 4.

       The Government’s loss figure, contrary to the Court’s Order to calculate “overall net

losses,” fails to reduce losses suffered by investors by gains achieved by investors.

       Further, the Government’s loss figure fails to include only losses resulting from activities

of retention agents of Yukom, Numaris, and Linkopia. Rather, the data coming from SpotOption

includes all deposits and withdrawals made by customers of BinaryBook and BigOption,

regardless of the company that did the retention or if any retention was even done at all. Thus, the

Government’s calculations include three distinct categories of losses that should not be included

under the Court’s requested assumption: 1) It includes depositors who were “self-depositors,” i.e.,

depositors who went to either the BinaryBook or BigOption web site and made a deposit without

ever speaking with any retention agent from any company; 2) It includes any deposits that resulted

from retention activities performed for BinaryBook and BigOption by companies wholly unrelated

to Yukom; and 3) It includes deposits that resulted from the activities of retention agents at all

“branches” of Yukom, not just those customers who deposited as a result of activities of retention

agents of Yukom, Numaris, and Linkopia.

       There is no data in the record from which a calculation of, or even a reasonable estimate

of, net losses resulting from all activities of all retention agents of Yukom, Numaris, and Linkopia




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can be made. Based on the SpotOption data that is in the record (see DE 350 at ¶ 1), the amount

of net deposits during the period in which the Government contends Ms. Elbaz was a member of

the conspiracy (see DE 350 at ¶ 2), regardless of whether the depositor was based in the United

States (see DE 350 at ¶ 3), that resulted from the activities of the individuals found to be Ms.

Elbaz’s co-conspirators is $11,671,461.39 (total net deposits, worldwide, for co-conspirators listed

on the “Agents” Tab of Exhibit A to the Turkov Declaration) (attached as Exhibit 2 to Ms. Elbaz’s

Memorandum in Aid of Sentencing, DE 342).




Dated: December 12, 2019

                                              Respectfully submitted,

                                              ROBERT A. ZINK
                                              Chief, Fraud Section
                                              Criminal Division
                                              U.S. Department of Justice

                                      By:             /s/
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                                   CERTIFICATE OF SERVICE

       I hereby certify that on December 12, 2019, I caused the foregoing document to be

electronically filed with the Clerk of Court for the United States District Court for the District of

Maryland by using the Court’s CM/ECF system, which will serve electronic notification of this

filing on all counsel of record.

                                              By:             /s/
                                                      Caitlin Cottingham, Trial Attorney
                                                      Fraud Section, Criminal Division
                                                      U.S. Department of Justice
